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               IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN OF PENNSYLVANIA

IN RE: NATIONAL FOOTBALL                     §
LEAGUE PLAYERS’ CONCUSSION                   §
LITIGATION                                   §
___________________________________          §     No. 12-md-2323 (AB)
                                             §
                                             §            MDL No. 2323
THIS DOCUMENT RELATES TO:                    §
ALL ACTIONS                                  §


           ALEXANDER OBJECTORS’ MOTION FOR LEAVE
               TO SERVE FEE-PETITION DISCOVERY

      The Alexander Objectors respectfully submit the following and request that

the Court grant leave to the Alexander Objectors to serve Requests for Production

of Documents pursuant to Fed. R. Civ. P. 34 and, in support, would show as

follows:

I.    The Court has Insufficient Information to Perform the Third Circuit’s
      “Thorough Review” of Co-Lead Class Counsel’s Petition for an Award
      of Attorneys’ Fees, Reimbursement of Costs and Expenses, Adoption of
      A Set-Aside of Five Percent of Each Monetary Award and Derivative
      Claimant Award (“Co-Lead Class Counsel’s Fee Petition”)

      A district court must conduct a “through judicial review” of a fee application

in a class action settlement. In re General Motors Corp. Pick-Up Truck Fuel Tank

Prods. Liab. Litig., 55 F.3d 768, 819 (3d Cir. 1995). Attempting the review

without adequate procedures or bases for an award is, standing alone, an abuse of

discretion. See In re Cendant Corp. PRIDES Litig., 243 F.3d 722, 727 (3d Cir.
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2001).

      To date, Class Counsel has advanced nothing more than an ipse dixit as a

basis for an award of fees: Mr. Seeger states that he “deemed all work being billed

reasonably, necessary, and non-duplicative.” See ECF No. 7152-2 at ¶¶ 72-73, 75-

76.   It is an insufficient basis for making an award of $112.5 million and

withholding an additional 5% from every Class Member.               The Alexander

Objectors previously requested the entry of a Case Management Order that would

permit the Court to vet the reasonableness of the fees through careful consideration

of objections, along with an opportunity to seek information to develop those

objections. See ECF 7176; see also In re Baby Products Antitrust Litigation, 708

F.3d 163, 177 (3d Cir. 2013) (noting that it is appropriate for the Court to address

issues raised in objections to fee award). To date, Co-Lead Class Counsel has

failed or refused to submit data that would form a basis for the Court to review Co-

Lead Class Counsel’s Fee Petition. Therefore, the Alexander Objectors now

specifically request leave to serve discovery pursuant to Fed. R. Civ. P. 34

II.   The Court Should Permit the Alexander Objectors to Serve Requests
      for production of Documents that form the basis of Co-Lead Class
      Counsel’s statements in support of (a) $112.5 in attorneys fees; and (b) a
      full 5% set aside from every award from the Settlement.

      In order that the Court will have a sufficient basis to review Co-Lead Class

Counsel’s Fee Petition and the Alexander Objectors will have meaningful

opportunity to object to Co-Lead Class Counsel’s Fee Petition, the Alexander
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Objectors seek leave to serve the following document requests:


1.     Any and all documents prepared or submitted pursuant to Case
       Management Order No. 5, including but not limited to requests for
       extension of time to file reports or other formal or informal requests for
       relief from Case Management Order No. 5.

2.     Every “Detailed Time Report” prepared in accordance with Case
       Management Order No. 5.

3.     Every senior partner or shareholder certification of accuracy for time and
       expense entries prepared in accordance with Case Management Order No.
       5.

4.     Every document that pertains to an Interim Litigation Fund.

5.     Every document reflecting an audit of a common-benefit time or expense
       report.

6.     Any and all “contemporaneous daily time records regularly prepared and
       maintained” for any common-benefit fee award sought by any attorney
       pursuant to Co-Lead Class Counsel’s Fee Petition.

7.     Any and all “expense vouchers, check records, and other source material”
       that substantiates the record of expenses incurred by counsel seeking
       common benefit expenses.

8.     Any and all documents submitted to Seeger Weiss per Mr. Seeger’s July,
       2016 letters to “Counsel” concerning requests for common benefit time as
       described in that letter:

      a.    Every submission of “a report of a full, itemized list of each and every
            common benefit task with important supporting information”;

      b.    Every submission of “a report for total time and fees by task
            category”;

      c.    Every submission of “a report for each expense incurred for the
            common benefit with important supporting information.”
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      d.   Every “Time and Expense Reporting” spreadsheet submitted.

9.    Any and all communications between plaintiffs’ class counsel and lawyer
      or firm submitting common benefit time in Request No. 8 above pertaining
      to those submissions.

10.   Any and all drafts of attorney declarations prepared in connection with Co-
      Lead Class Counsel’s Fee Petition.

11.   Any document that reflects contemporaneous recording of common-benefit
      time by any attorney seeking fees as part of Co-Lead Class Counsel’s Fee
      Petition.

12.   Any and all documents reflecting the review of common-benefit
      submissions by “attorneys and staff working at [Mr. Seeger’s] direction.”
      (ECF 7151-2, ¶ 75)

13.   Any document that reflects a segregation of “time and expenses that inured
      [only] to the common benefit of the Class.” (ECF 7151-2, Paragraph 76).

14.   Any and all documents reflecting the division of hours or segregation of
      time between contingency contract clients and common benefit time for the
      firms seeking common benefit fees.

15.   Any and all documents submitted by parties or their lawyers to the Court or
      any Special Master that refer or relate to forecasts or predictions of number
      of class members who are estimated to be eligible for Settlement funds
      and/or the funds necessary to adequately fund the settlement.

16.   Any and all documents that refer or relate to the attorneys fee negotiations
      between the parties regarding the set aside provision in the Settlement,
      including any document pertaining to the negotiation of a decision tot
      modify the proposed settlement to add or include a set aside or hold back of
      up to 5% from any monetary award.

17.   Any and all documents that refer or relate to the reasons the attorneys fee
      agreement between the parties was changed after the January 6, 2014
      agreement was submitted for court approval.
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18.    Any and all documents reflecting the reasons for any changes to the
       settlement agreement after the January 6, 2014 agreement was rejected
       without prejudice.

19.    Any and all documents sent to or received from Thomas Vasquez
       concerning this matter.

                                    PRAYER

      For these reasons, the Alexander Objectors respectfully request the Court

enter an order granting them leave to serve on Co-Lead Class Counsel the above-

referenced discovery requests pursuant to Fed. R. Civ. P. 34.

Date: April 21, 2017                         Respectfully Submitted,


                                 /s/ Lance H. Lubel
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             Smith, James A. Young Sr., and Baldwin Malcom Frank




                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing was served on all counsel of
record via the Court’s ECF system on April 21, 2017.

                                             /s/ Justin R. Goodman
